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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                   Eastern District
                                                 __________         of New
                                                             District       York
                                                                       of __________

 Luisanna Marra Moreta and Cesarina Altagracia de                 )
                  Jesus Belen,                                    )
                                                                  )
                                                                  )
                            Plaintiff(s)                          )
                                                                  )
                                v.
                                                                  )
                                                                         Civil Action No.     22cv4831
Hernandez Meat Market Inc.; Sweet Occasions Inc.;                 )
  Sweet Occasions Express Inc.; and Irene Diaz,
                                                                  )
                                                                  )
                                                                  )
                           Defendant(s)                           )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                       Hernandez Meat Market Inc: 2807 Church Ave, Brooklyn, NY, 11226
                                       Sweet Occasions Inc.: 103-13 Northern Blvd, Corona, NY, 11368
                                       Sweet Occasions Express Inc.: 35-58 97th St, Corona, NY, 11368
                                       Irene Diaz: 7245 Nottinghamshire Dr Jacksonville, FL 32219-4324




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                                Mohammed Gangat
                                                Law Office of Mohammed Gangat
                                                675 Third Avenue
                                                Ste 1810
                                                New York, NY 10017


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                           Brenna B. Mahoney
                                                                            CLERK OF COURT


Date: 8/17/2022                                                                 /s/Priscilla Bowens
                                                                                       Signature of Clerk or Deputy Clerk
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 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
